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                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA


In re:                                       )
                                             )
SD-CHARLOTTE, LLC                            )      Case No. 20-30149
                                             )      Chapter 11
                  Debtor.                    )
                                             )
Tax ID No.: 7237                             )
_______________________________________

In re:                                       )
                                             )
RTHT INVESTMENTS, LLC                        )      Case No. 20-30152
                                             )      Chapter 11
                  Debtor.                    )
                                             )
Tax ID No.: 2540                             )
_______________________________________
In re:                                  )
                                        )
SD RESTAURANT GROUP, LLC                )           Case No. 20-10046
                                        )           Chapter 11
            Debtor.                     )
                                        )
Tax ID No.: 0331                        )
_______________________________________
In re:                                  )
                                        )
SD-MISSOURI, LLC                        )           Case No. 20-30150
                                        )           Chapter 11
            Debtor.                     )
                                        )
Tax ID No.: 8294                        )
_______________________________________


In re:                                       )
                                             )
SOUTHERN DELI HOLDINGS, LLC                  )      Case No. 20-30151
                                             )      Chapter 11
                  Debtor.                    )
                                             )
Tax ID No.: 9425                             )
_______________________________________



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                       MOTION OF DEBTORS FOR
          ENTRY OF ORDER DIRECTING JOINT ADMINISTRATION OF
      RELATED CHAPTER 11 CASES PURSUANT TO FED. R. BANKR. P. 1015(b)

                  Now comes SD-Charlotte, LLC and its debtor affiliates in the above-captioned

chapter 11 cases, as debtors and debtors-in-possession (collectively, the “Debtors”), respectfully

represent:
                                                 Background

                  1.      On the date hereof (the “Petition Date”), each of the Debtors commenced

with this Court a voluntary case under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”). The Debtors are authorized to continue to operate their businesses and

manage their properties as debtors-in-possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No trustee, examiner, or statutory committee of creditors has been appointed in

these chapter 11 cases (the “Chapter 11 Cases”).

                  2.      Contemporaneously herewith, the Debtors have filed a motion requesting

joint administration of these Chapter 11 Cases pursuant to Rule 1015(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”).

                  3.      Information regarding the Debtors’ businesses, capital structure, and the

circumstances leading to the commencement of these Chapter 11 Cases is set forth in the

Declaration of Brian Rosenthal in Support of the Debtors’ Chapter 11 Petitions and Requests

for First Day Relief (the “First Day Declaration”),1 which has been filed contemporaneously

herewith and is incorporated by reference herein.




1
 Except where otherwise indicated, capitalized terms used but not defined in this Motion have the meanings
ascribed to them in the First Day Declaration.
                                                        2
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                                                   Jurisdiction

                  4.       The Debtors bring their motion (the "Motion") pursuant to Rule 1015(b) of

the Bankruptcy Rules.

                  5.       The Court has jurisdiction over the Motion pursuant to 28 U.S.C. § 1334(b).

The Motion is a core proceeding under 28 U.S.C. § 157(b)(2). Venue is proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409.

                  6.       No committee has been appointed in the Debtors' cases.

                                                Relief Requested

                  7.       By this Motion, pursuant to Rule 1015(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), the Debtors request entry of an order directing

joint administration of these Chapter 11 Cases for procedural purposes only. In addition, the

Debtors respectfully request that the Court maintain one file and one docket for all of the jointly

administered cases under the lead chapter 11 case of SD-Charlotte, LLC, and that these Chapter

11 Cases be jointly administered under the following consolidated caption:


                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA

In re:                                 )
                                       )
                           1
SD-CHARLOTTE, LLC, et al.,             )                                 Case No. 20-30149
                                       )                                 Chapter 11 (Jointly Administered)
            Debtors.                   )
                                       )
_______________________________________)

                  8.       The Debtors further request the Court’s direction that a notation

substantially similar to the following language be entered on the docket of each of these Chapter



1
 The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are: SD-Charlotte,
LLC (7237); RTHT Investments, LLC (2540); SD Restaurant Group, LLC (0331); SD-Missouri, LLC (8294); and
Southern Deli Holdings, LLC (9425).
                                                          3
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11 Cases (except the chapter 11 case of SD-Charlotte, LLC) maintained by the Clerk of the Court

to reflect the joint administration of the Debtors’ Chapter 11 Cases:


                  An order has been entered in this case directing the procedural
                  consolidation and joint administration of the chapter 11 cases of SD-
                  Charlotte, LLC; SD Restaurant Group, LLC; RTHT Investments,
                  LLC; Southern Deli Holdings, LLC and SD-Missouri, LLC. The
                  docket in Case No. 20-30149 should be consulted for all matters
                  affecting this case.

                  9.     A proposed form of order granting the relief requested in this Motion is

attached hereto as Exhibit “A” (the “Proposed Order”).

                                      Basis for Relief Requested

                  10.    On the date hereof, the Debtors commenced the Chapter 11 Cases by filing

the appropriate petitions with this Court. As set forth in the First Day Declaration, there are five

Debtors, with numerous creditors and other parties in interest in these Chapter 11 Cases. Joint

administration will allow for the efficient and convenient administration of the Debtors’

interrelated Chapter 11 Cases, will yield significant cost savings, and will not prejudice the

substantive rights of any party in interest.

                  11.    Bankruptcy Rule 1015(b) provides, in relevant part, that if “two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015(b). As set forth in the First Day

Declaration, the Debtors in these Chapter 11 Cases are “affiliates” as that term is defined in Section

101(2) of the Bankruptcy Code. Accordingly, this Court is authorized to grant the relief requested

herein.

                  12.    The Court has good cause to order joint administration of the Debtors' cases.

Joint administration will obviate the need for duplicative notices, motions, applications and or-

ders, and will save considerable time and expense for the Court, the Debtors, the Debtors' estates

and other parties in interest. The Debtors are affiliates with integrated assets and operations and
                                                 4
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share many of the same creditors. Furthermore, the Debtors' respective cases will involve com-

mon pleadings and many of the same issues of law and fact.

                  13.   Joint administration will not adversely affect the Debtors’ respective

constituencies because this Motion only requests administrative—and not substantive—

consolidation of the Debtors’ estates. For example, any creditor still may file a claim against a

particular Debtor or its estate (or against multiple Debtors and their respective estates) and

intercompany claims among the Debtors will not be affected.

                  14.   The Debtors seek joint administration only for procedural purposes and do

not seek to consolidate the Debtors' cases substantively. Nothing in the Motion shall be construed

as a request for substantive consolidation. The Debtors reserve all rights.

                                                Notice

                  15.   Notice of this Motion has been given to the following parties or, in lieu

thereof, to their counsel, if known: (a) the Bankruptcy Administrator; (b) the Debtors’

consolidated top thirty (30) largest unsecured creditors as set forth in the list filed with the Debtors’

petition; (c) counsel to the Prepetition Secured Lender (d) counsel to the DIP Lender; (e) counsel

to the MCA Parties, if known; (f) the Securities and Exchange Commission; (g) the Internal

Revenue Service; and (h) any other party entitled to notice pursuant to Rule 9013–1(e) of the Local

Rules of the United States Bankruptcy Court for the Western District of North Carolina (the “Local

Rules”).

                  16.   Notice of this Motion and any order entered hereon will be served on all

parties required by Local Rule 9013–1(e). Based on the urgency of the circumstances surrounding

this Motion and the nature of the relief requested herein, the Debtors respectfully submit that no

further notice is required.




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                                      No Previous Request

                  17.   No previous request for the relief sought herein has been made by the

Debtors to this or any other court.


                  WHEREFORE the Debtors respectfully request entry of the Proposed Order

granting the relief requested herein and such other and further relief as the Court may deem just

and proper.


 Dated: February 7, 2020                  MOORE & VAN ALLEN PLLC

                                          /s/ Hillary B. Crabtree
                                          Zachary H. Smith (NC Bar )
                                          Hillary B. Crabtree (NC Bar 26500)
                                          100 N. Tryon Street, Suite 4700
                                          Charlotte, NC 28202
                                          Telephone: (704) 331-1000
                                          Facsimile: (704) 339-5968
                                          Email: zacharysmith@mvalaw.com
                                          Email: hillarycrabtree@mvalaw.com


                                          Proposed Counsel to the Debtors and Debtors-In-
                                          Possession




                                               6
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                                         Exhibit A
                                      Proposed Order




                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA


In re:                                       )
                                             )
SD-CHARLOTTE, LLC                            )      Case No. 20-30149
                                             )      Chapter 11
                  Debtor.                    )
                                             )
Tax ID No.: 7237                             )
_______________________________________

In re:                                       )
                                             )
RTHT INVESTMENTS, LLC                        )      Case No. 20-30152
                                             )      Chapter 11
                  Debtor.                    )
                                             )
Tax ID No.: 2540                             )
_______________________________________
In re:                                  )
                                        )
SD RESTAURANT GROUP, LLC                )           Case No. 20-10046
                                        )           Chapter 11
            Debtor.                     )
                                        )
Tax ID No.: 0331                        )
_______________________________________
In re:                                  )
                                        )
SD-MISSOURI, LLC                        )           Case No. 20-30150
                                        )           Chapter 11
            Debtor.                     )
                                        )
                                       7
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Tax ID No.: 8294                        )
_______________________________________


In re:                                                      )
                                                            )
SOUTHERN DELI HOLDINGS, LLC                                 )        Case No. 20-30151
                                                            )        Chapter 11
                    Debtor.                                 )
                                                            )
Tax ID No.: 9425                                            )
_______________________________________



     ORDER DIRECTING JOINT ADMINISTRATION OF THE DEBTORS’ RELATED
          CHAPTER 11 CASES PURSUANT TO FED. R. BANKR. P. 1015(b)


                     Upon the motion, dated February 7, 2020 (the “Motion”)1 of SD-Charlotte, LLC

and its debtor affiliates, as debtors and debtors-in-possession (collectively, the “Debtors”), for

entry of an order directing the joint administration of the Debtors’ related chapter 11 cases for

procedural purposes pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), as more fully set forth in the Motion; and upon consideration of the First

Day Declaration and the Court having jurisdiction to consider the Motion and the relief requested

therein pursuant to 28 U.S.C. §§ 157 and 1334 and consideration of the Motion and the requested

relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having

been given as provided in the Motion, and such notice having been adequate and appropriate under

the circumstances; and it appearing that no other or further notice need be provided; and a hearing

having been held to consider the relief requested in the Motion; and the Court having found and

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and it appearing that the relief requested in the Motion is in the best interests of the

1
    All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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Debtors and their respective estates and creditors; and upon all of the proceedings had before the

Court and after due deliberation and sufficient cause appearing therefor,

                   IT IS HEREBY ORDERED THAT:

                  1.       The Motion is granted.

                  2.       The Debtors’ Chapter 11 Cases are hereby consolidated for procedural

purposes only and shall be jointly administered by the Court.

                  3.       Nothing contained in this Order shall be deemed or construed as directing

or otherwise affecting the substantive consolidation of any of the Debtors’ Chapter 11 Cases.

                  4.       The caption of the jointly administered cases shall read as follows:



                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA

In re:                                 )
                                       )
                           1
SD-CHARLOTTE, LLC, et al.,             )                        Case No. 20-30149
                                       )                           Chapter 11 (Jointly Administered)
            Debtors.                   )
                                       )
_______________________________________)


                  5.       A docket entry shall be made in each of the above-captioned Chapter 11

Cases (except the chapter 11 case of SD-Charlotte, LLC) substantially as follows:

                  An order has been entered in this case directing the procedural
                  consolidation and joint administration of the chapter 11 cases of SD-
                  Charlotte, LLC; SD Restaurant Group, LLC; RTHT Investments,
                  LLC; Southern Deli Holdings and SD-Missouri, LLC. The docket




1
 The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are: SD-Charlotte,
LLC (7237); RTHT Investments, LLC (2540); SD Restaurant Group, LLC (0331); SD-Missouri, LLC (8294); and
Southern Deli Holdings, LLC (9425).
                                                          9
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                  in Case No. 20-30149 should be consulted for all matters affecting
                  this case.

                  6.     The Debtors are authorized to take all steps necessary or appropriate to carry

out this Order.

                  7.     This Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this Order.



 This Order has been signed electronically.                         United States Bankruptcy Court
 The Judge's signature and Court's seal
 appear at the top of this Order.




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